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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

JOHN DOE,                                        §
                                                 §
               Plaintiff,                        §
                                                 §
v.                                               §                    1:18-CV-85-RP
                                                 §
UNIVERSITY OF TEXAS AT AUSTIN                    §
and GREGORY FENVES, individually and             §
in his official capacity,                        §
                                                 §
               Defendants.                       §

                                             ORDER

       On August 30, 2018, the Court granted Defendants’ motions to dismiss. (Order, Dkt. 31). In

that Order, the Court noted that if Plaintiff John Doe wished to file an amended complaint, he was

required to do so before September 14, 2018. To date, the Court has not received an amended

complaint. Accordingly, the Clerk of Court shall CLOSE this action.



       SIGNED on October 3, 2018.




                                            _____________________________________
                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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